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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
    PRODUCTS LIABILITY                                                                 20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES


                JOINT STIPULATION RELATING TO SANOFI DEFENDANTS

           Plaintiffs Co-Lead Counsel in the above-captioned matter and Defendants Sanofi, Sanofi-

   Aventis U.S. LLC and Sanofi US Services Inc., by and through their undersigned counsel, hereby

   stipulate:

           1.     Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. (collectively, “Sanofi US”)

   stipulate that all discovery directed to them by Plaintiffs’ Co-Lead Counsel in this MDL shall be

   deemed to encompass and include Sanofi (incorrectly designated as Sanofi S.A.) (“Sanofi France”)

   in the Master Personal Injury Complaint (“Master PI Complaint”), Consolidated Consumer Class

   Action Complaint and Consolidated Third-Party Payor Class Action Complaint (collectively, the

   “Class Complaints”) filed in MDL 2924, and Sanofi US shall produce all responsive and

   discoverable facts, documents, information, materials, ESI, including custodial files, and

   witnesses, including 30(b)(6) depositions within the possession, custody or control of Sanofi

   France as if they are within the possession, custody or control of Sanofi US. Sanofi US shall not

   object to such discovery requests on the basis that the information requested is within the

   possession, custody, or control of Sanofi France. Notwithstanding the foregoing, Sanofi US

   reserves the right to object to requests for discovery on all other grounds including, but not limited


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   to, undue burden, relevance, lack of proportionality and privacy restrictions or concerns, within

   the appropriate time for raising such objections. Sanofi France agrees that the terms of any MDL

   PTO regarding authenticity of documents will apply to all documents, information, including ESI,

   and materials produced by Sanofi US on behalf of Sanofi France. Such productions shall be made

   in accordance with and shall be subject to the terms of PTO 25 (Privilege and Work Product), PTO

   26 (Confidentiality) and PTO 29 (ESI Protocol). Nothing in this stipulation obligates Sanofi US

   or Sanofi France to violate any foreign law requirements with regard to discovery, but Sanofi US

   and Sanofi France shall cooperate in good faith with Plaintiffs to fulfill discovery obligations under

   U.S. law in a manner that avoids or minimizes any such conflict, including the use of PTO 26

   (Confidentiality).

          2.      Sanofi France acknowledges its ongoing preservation obligations in this MDL and

   agrees to abide by the terms of PTO 28.

          3.      Sanofi US stipulates that all requests for deposition directed by Plaintiffs’ Co-Lead

   Counsel to its current and former employees shall be deemed to encompass and include current

   and former employees of Sanofi France (“Sanofi France Witnesses”) located outside of the United

   States, and shall not object to such notices of deposition for Sanofi France Witnesses on the basis

   that they are or were employed by Sanofi France outside of the United States. Sanofi US reserves

   the right to object to such notices of deposition on all grounds other than the location of the Sanofi

   France Witness including, but not limited to undue burden, relevance, or lack of proportionality.

   For any deposition of a Sanofi France Witness located outside the United States, the parties agree

   to meet and confer to select a deposition location most convenient to the witness, taking into

   consideration any rules or regulations that govern the permissible locations for a deposition in the

   jurisdiction where the witness resides. Sanofi France will in good faith seek agreement of any



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   former employee whose deposition is requested to be bound by this paragraph. This paragraph

   shall not apply to any former employee who declines such agreement despite Sanofi France’s good

   faith efforts, and Sanofi US and Sanofi France agree not to furnish legal representation to such

   person in connection with such deposition unless legally obligated to do so. To the extent that

   Sanofi US or Sanofi France undertake representation of a former or current employee for purposes

   of this litigation, Sanofi US and Sanofi France agree that any deposition that takes place will be

   governed by the forthcoming Deposition Protocol to be entered in this MDL.

           4.      The parties further agree to meet and confer in good faith to establish reasonable

   limitations on the number of document custodians and depositions for Sanofi France Witnesses

   located outside the United States. To the extent agreement cannot be reached between counsel on

   such limits, such dispute will be decided by the MDL Court.

           5.      Sanofi US stipulates that it will not object to deposition testimony of Sanofi France

   Witnesses or Sanofi France documents, including ESI, produced by Sanofi France, being

   considered an admission of a party opponent pursuant to FRE 801(d)(2), provided such testimony

   and documents would otherwise be considered an admission of a party if Sanofi France were still

   a party in this action.

           6.      Sanofi US stipulates that Sanofi France is an affiliated company; that Sanofi US is

   the proper party in interest for purposes of all claims asserted against Sanofi France in this

   litigation; and that Sanofi US shall not argue that Sanofi France is at fault instead of Sanofi US.

           7.      Sanofi France agrees that in the event that Plaintiffs’ Co-Lead Counsel join or add

   Sanofi France to the MDL litigation pursuant to paragraph 9 below, such addition or joinder shall

   relate back, for statute of limitations purposes, as though Sanofi France had not been dismissed

   from the Master PI Complaint and the Class Complaints.



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          8.      Sanofi US and Sanofi France represent that Sanofi US has the financial ability to

    satisfy any future judgment in this matter. Sanofi US shall furnish documents or information

    sufficient to show that it is adequately capitalized to satisfy any such judgment. In the event that

    Sanofi US cannot furnish such proof, the provisions of paragraph 9 below shall apply. For

    avoidance of doubt, paragraph 9 below shall be the exclusive remedy in case of a breach of this

    paragraph, and nothing in this stipulation shall create any duty or obligation on the part of Sanofi

    France to fund or satisfy any judgments against Sanofi US.

          9.      Sanofi US and Sanofi France agree that Plaintiffs’ Co-Lead Counsel retain the right

   to join or add Sanofi France to the litigation in the future in the event Plaintiffs’ Co-Lead Counsel

   believe reasonably and in good faith that Sanofi France or Sanofi US have not complied with the

   terms of this Stipulation. In such event, service on Sanofi France must be made in accordance

   with the Federal Rules of Civil Procedure, and Sanofi France specifically reserves the right to raise

   personal jurisdiction and/or venue defenses.

          10.     In consideration of Sanofi France’s agreement to the terms of paragraphs 1 - 9

   above, Plaintiffs’ Co-Lead Counsel stipulate and agree to the following:

                  a.      This stipulation is the product of arm’s length negotiations between

   Plaintiffs’ Co-Lead Counsel and counsel for Sanofi US and Sanofi France.

                  b.      Sanofi France shall promptly be dismissed from the Master PI Complaint

   and the Class Complaints without prejudice to its later addition or joinder pursuant to paragraph 9

   above. All dismissals of Sanofi France pursuant to this Stipulation shall be effected by an

   unopposed or joint motion to drop Sanofi France as a party under Federal Rule of Civil Procedure

   21, rather than Federal Rule of Civil Procedure 41, so as to preserve the finality for appellate

   purposes of any judgments later entered as to any remaining parties.



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                   c.      This stipulation applies to all cases transferred to and/or directly filed in this

   MDL, including currently pending cases and future cases that are directly filed in and/or

   transferred to this MDL. Plaintiffs’ Co-Lead Counsel shall use their best efforts to ensure that all

   Plaintiffs’ counsel in the MDL shall voluntary dismiss Sanofi France without prejudice from all

   actions currently pending in MDL 2924. Plaintiffs’ Co-Lead Counsel shall use their best efforts

   to ensure that the dismissals occur within 30 days of the date of this stipulation.

                   d.      In the event a Plaintiff in an action pending in MDL 2924 does not stipulate

   to entry of an Order dismissing Sanofi France without prejudice, Sanofi France may seek relief

   from the Court. In seeking relief from the Court, Sanofi France may submit this stipulation in

   support of its motion for relief.

                   e.      All Plaintiffs’ counsel appointed to a leadership role in this MDL agree they

   shall not name Sanofi France as a defendant in any future action directly filed in and/or transferred

   to MDL 2924. If any other MDL Plaintiffs’ counsel desires an exemption from the terms of this

   stipulation, said counsel shall file a motion requesting such exemption and seek a ruling from this

   Court that Sanofi France may be added to the complaint. Such motion shall be made prior to

   Sanofi France being named in the complaint, and must establish good cause for an exemption from

   the terms of this stipulation.

                   f.      In the event any Plaintiff obtains an exemption to name Sanofi France in a

   complaint, that Plaintiff may not avail himself or herself of the terms of this stipulation, and service

   on Sanofi France must be made in accordance with the Federal Rules of Civil Procedure and the

   Hague Convention. In addition, discovery taken of Sanofi France pursuant to this stipulation shall

   not be provided to or usable by such Plaintiff unless Sanofi France consents to such use.

                   g.      Upon request by counsel for Sanofi US or Sanofi France, Co-Lead Counsel



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   for Plaintiffs agree to use their good-faith efforts to coordinate with and encourage the entry of

   this stipulation in any state court litigation, if possible. Nothing in this stipulation shall act as a

   waiver of Sanofi France’s jurisdictional defenses.

                  h.      This stipulation has been agreed to in the interests of resolving disputes in

   this MDL proceeding only, and does not constitute any admission on the part of Sanofi France or

   Sanofi US as to jurisdiction over Sanofi France or its amenability to discovery in U.S. Courts.

                  IT IS SO STIPULATED, this 12th day of August 2020.



    /s/ Robert C. Gilbert______________                 /s/ Anand Agneshwar__________________
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